Case 5:22-cv-00259-JPB-JPM Document 1-1 Filed 11/02/22 Page 1 of 6 PageID #: 3



              a
  Administrative Remedy Number 1115480-Al
  Part B  —Response


 This is in response to your Central Office Administrative Remedy
 Appeal, in which you assert inaccuracies contained within your
 Pre—Sentence Report (PSR), which has resulted in your
 ineligibility for the Residential Drug Abuse Program. For
 relief, you request to have your PSR corrected.

 We have reviewed documentation relevant to your appeal and based
 on the information gathered, concur with the manner in which the
 Warden and Regional Director addressed your concerns at the time
 of your Request for Administrative Remedy and subsequent appeal.
 An inmate may challenge the accuracy of Central File materials
 in accordance with Program Statement 5800.17, Inmate Central
 File, Privacy Folder, and Parole Mini—Files, As previously
 advised, you are encouraged to make the request through your
 unit team.   You may also address your concerns with the
 sentencing courts.

 Accordingly,     this response is provided for information purposes.



   10—03—2022                       c’~< c~)~t~44:-
 Date                              Ian Connors, Administrator
                                   National Inmate Appeals
                                Case 5:22-cv-00259-JPB-JPM Document 1-1
           U.S. Department of Justice
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                                                                                                          Appeall

           Federal Bureau of Prisons

           Type or use ball-point pen. If attachments are needed, submit four copies. One copy each of the completed BP-229(13) and BP-230(13), including any attach
           ments must be submitted with this appeal.

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                        -        DATE        ~                                                                                                              si~~ OF REQUESTER

      Part B                RESPONSE




                                DATE                                                                                                                            GENERAL COUNSEL

    ORIGINAL: RETURN TO INMATE                                                                                                                            CASE NUMBER:         _________________



    Part     C          RECEIPT
                                                                                                                                                          CASE NUMBER:         _________________



    Return        to:       _______________________________________________________________                  ____________________________                 ________________________   _________________________

                                         LAST NAME, FIRST, MIDDLE INITIAL                                             REG. NO.                                     UNIT                   INSTITUTION
    SUBJECT:


                               DATE                                                                            SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL
                                                                                                                                                                                                    BP-231(13)
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Case 5:22-cv-00259-JPB-JPM Document 1-1 Filed 11/02/22 Page 3 of 6 PageID #: 5


                      REQUEST FOR ADMINISTRATIVE REMEDY
                      ADMINISTRATIVE REMEDY #1115480-Fl

  This is in response to your Request for Administrative Remedy dated
  March 3, 2022, stating your current Presentence Investigation
  Report (PSR) is incorrect and requesting it be corrected/modified.

  Upon review, your current PSR, Docket No.: 0647 4:18CR00737—001,
  under Substance Abuse states; according to (you) the defendant, he
  first consumed alcohol at age 18 and last consumed alcohol in
  September 2018. The defendant first used marijuana at age 17 and
  last used the substance in the summer of 2018. The defendant
 experimented with Percocet on one occasion at the age of 31. He
 denied using any other illicit substance. According to the
 defendant’s pretrial services report, he denied using any illicit
 substances aside from using marijuana on one occasion at the age of
 15. The defendant tested positive for cocaine on December 19, 2018.
 He denied usin~ cocaine. The defendant completed substance abuse
 treatment and Men’s Group in October 2019 while incarcerated at
 Northeast Ohio Correctional Facility.   The defendant’s attorney
 provided copies of his Certificate of Achievement for competing
 both programs. He reported no further substance treatment. The
 defendant is interested in receiving treatment.

 Your legal representative will need to file in court to get an
 addendum to the PSR to be completed for this information to be
 changed.  Your unit team is not responsible for completing this.

 Based on our findings,    this response is for informational purposes
 only.

If dissatisfied with this response, you may appeal to the Mid—
Atlantic Regional Director, Federal Bureau of Prisons, 302 Sentinel
Drive, Suite 200, Annapolis Junction, Maryland 20701.  Your appeal
must be received in the Regional Office within 20 days of the date
of this response.


-

R. McCaf rey                                                        Date
FCI Acting Warden
                 Case 5:22-cv-00259-JPB-JPM
        ~U.S. DEPARTMENT OF JUSTICE                                          Document 1-1REQUEST
                                                                                           Filed 11/02/22 Page 4 of 6 PageID
                                                                                                   FOR ADMINISTRATIVE        #: 6
                                                                                                                        REMEDY
        Federa Bureau of Prisons



                             Type or use ball—point pen. If attachments are needed, sub,nit four copies. Additional instructions on reverse.


        From:
                          LAST NAME,         FIRST, MIDDLE INITIAL                                        REG.    NO.                          UNiT                        INSTITUTION

  .       PartA-INMATEREQUEST                                          ~                            ~.                                            -




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        Part B- RESPONSE




                         DATE                                                                                                   WARDEN OR REGIONAL DIRECTOR
      If dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 calendar days of the date of this response.

      THIRD COPY: RETURN TO INMATE                                                                                                CASE NUMBER:           __________________




                                                                                                                                  CASE NUMBER:           __________________

       Part C-         RECEIPT
      Return    to:     ____________________________________________                           _____________________                  _________________              ___________________

                             LAST NAME, FIRST, MIDDLE INITIAL                                               REG. NO.                            UNIT                       INSTITUTION

      SIJBJECT



                        DATE                                                                               RECIPIENT’S SIGNATURE (STAFF MEMBER)                                          BP-229(13)
       USP LVN                                      ‘PEDONR~GYC~EOP~                                                                                                                     APRIL 1982
          Case 5:22-cv-00259-JPB-JPM Document 1-1 Filed 11/02/22 Page 5 of 6 PageID #: 7




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                                                                   DATE:        February 3, 2014
                                                             SUBJECT:           A.istrative Re:oed,’
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                                                                   PAGE:        9

                                                                                                ATTACBMENT A

                               Federal Correctional Comolex Eazelton
                                 Reoust for Administrative Remedy
                          Informal Resolution Form    General Po~ulat±cn
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 notice to Inmates: Prior to rCcCi~rinO     c~uesc for .~d ~n tret~ve ?e~eoy E’orm (3C—~29~                 you
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 Case 5:22-cv-00259-JPB-JPM Document 1-1 Filed 11/02/22 Page 6 of 6 PageID #: 8



                                      Attachment
Specific Complaint continued.
 ...~E.was recently told by psychology services here at the institution I’m current1y~
housed in that my PSR states, in regards to my history of drug use/abus, that I
had informed the Probation Officer who prepared my PSR that I used and abused
marijuana “twa or:three times a week” when in fact what I had told the Probation
Officer preparing my PSR that I abused/used marijuana ‘!twc~ or three times a day,
every week. ‘ I am hereby bringing to your attention that th~e is a discrepancy
regarding this informatchon contained in my ~SR, which constituted “maintaining
inaccurate records” and is a violation of the Privacy Act (Act) due to the use
of the incorrect information in determinations adverse to myself. Speeifically,
because of this incorrect information, I am being denied an evidence based drug
program, i.e., Residential Drug Abuse Program (RDAF), that I need to aid in my
rehabilitation and drug abuse prevention for my future. S&tion 552~~e)(5) of
the Privacy Act (Act) provides that each agency that keeps a system of records must
maintain all records with such accuracy, relevance, timeliness, and completeness as
is reasonably necessary to assure fairness to the individuali±n the determination.
5 U.S.G.S. § 552e(5). Section 552a(g) of the Act provides civil remedies for
violations of 5 U.S.G.S. § 552a(e)(5). In particular, § 552a(g)(1)(C) permits a
civil action if an agency fails to maintain any record concerning any individual
and consequently a determination is made which is adverse to the individual.
5 U.S.G.S. § 552a(g~(1)(G). And § 552(g)(4) provides that in any action brought
under § 552(g)(1)(C), in which the determines that the agency acted in a manner
which was intentional or willful, the United States shall be liable for actual
damages sustained by the individual not less than $1,000 as well as litigation
costs and attorney’s fees. 5 U.S.G.S. § 552a(g)(4). (See Sellers v. Bureau of
Prisons, et al., 959 F.2d 307; 294 U.S. App. D.G. 361; 1992 U.S. App. LEXIS 5369
(Gourt of Appeals for District of Golumbiai 1992) This case goes ciin to say that
“As long as the information contained in an agency’ s files is capable of being
verified, the~i under 5 U.S.G.S. § 552a(e)(5) and 5 U.S.G.S. § 552a(g)(1)(G) of the
Privacy ~ct, the agency must take reasonable steps to maintain the accuracy of the
information to assure fairness to the individual. If the agency willfully or
intentionally fails to maintain its records in that way,and, as a result, it makes
a determination adverse to an individual, then it will be liable to that person
for money damages,” Id.
Relief Requested continued.
   .1 am requesting the Unit Team, Psychology Services and/or\ whomever the responsible
party is contact the Erobation Department that prepared my PS~R, inform them of the
inaccuracies complained of herein, so that they can make the proper corrections/
amendments and/or verify the inaccuracies so that they may be corrected and the
adversity I’m suffering can be removed.
